Case 1:03-cV-01234-.]DB-tmp Document 32 Filed 05/06/05 Page 1 of 3 Page|D 60

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IN THE UNITED srATEs DlsrRlcT coURT 5 \ Df
FoR THE WESTERN DISTRICT oF TENNESSEB H,qy_
EASTERN DIVISIoN 5 PH 3 4 7
CLEs1 ‘ 39 fed
JAMES KITTINGER, WD.Q J,:'-;_,jj J SD.ISIéO;
d11':1<80111
Plaintiff,
v. No. 03-1234-B/P

CORRECTIONS CORPORATION OF
AMERICA, et al.,

Defendants.

 

ORDER OF REFERENCE

 

The above matter is hereby referred to Magistrate Judge Tu Pham for all discovery and
non- dispositive motions presently pending and/or filed during the course of this litigation

IT IS SO ORDERED this Q day of May, 2005.

 

 

J. DANIEL BREEN\
1 313 sTArEs DISTRICT JUDGE

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with nme 58 and/111 79 (a} FHCP on 533 33 Q 5

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Case 1:03-cV-Ol234-.]DB-tmp Document 32 Filed 05/06/05 Page 3 of 3 Page|D 62

Honorable .1. Breen
US DISTRICT COURT

